    Case 1:23-cv-00853-DAE Document 79 Filed 01/27/24 Page 1 of 3


                                                                              FILED
                                                                         January 27, 2024
         United States Court of Appeals                                CLERK, U.S. DISTRICT COURT
                                                                       WESTERN DISTRICT OF TEXAS


              for the Fifth Circuit                                                  klw
                                                                    BY: ________________________________
                                                                                            DEPUTY
                              ___________

                               No. 23-50632
                              ___________

United States of America,

                                                          Plaintiff—Appellee,

                                    versus

Greg Abbott, in his capacity as Governor of the State of Texas; State
of Texas,

                                        Defendants—Appellants.
                ______________________________

               Appeal from the United States District Court
                   for the Western District of Texas
                     USDC No. 1:23-CV-853 DAE
               ______________________________


Before Richman, Chief Judge, and King, Jones, Smith, Stewart,
Elrod, Southwick, Haynes, Graves, Higginson, Willett,
Ho, Duncan, Engelhardt, Oldham, Wilson, Douglas and
Ramirez, Circuit Judges.
Per Curiam: 1



1
 Richman, Chief Judge, and Jones, Smith, Elrod, Southwick, Haynes,
Higginson, Willett, Ho, Duncan, Engelhardt, Oldham, and Wilson,
Circuit Judges, voted to grant a temporary administrative stay. King, Stewart,
Graves, Douglas, and Ramirez, Circuit Judges, voted to deny a temporary
administrative stay.
 Case 1:23-cv-00853-DAE Document 79 Filed 01/27/24 Page 2 of 3




     IT IS ORDERED that Appellants’ opposed motion for a temporary
administrative stay is GRANTED.
        Case 1:23-cv-00853-DAE Document 79 Filed 01/27/24 Page 3 of 3




                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                             January 27, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-50632     USA v. Abbott
                       USDC No. 1:23-CV-853

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Amanda Sutton-Foy, Deputy Clerk
                                  504-310-7670
Ms. Munera Al-Fuhaid
Mr. Andrew Marshall Bernie
Mr. Monroe David Bryant Jr.
Mr. Matt A. Crapo
Mr. Ari Cuenin
Mr. Philip Devlin
Mr. Michael Thomas Gray
Mr. Andrew D. Knudsen
Mr. Brian H. Lynk
Mr. Aaron Lloyd Nielson
Ms. Lanora Christine Pettit
Mr. Anthony J. Powell
Mr. Landon Wade
Mr. Ryan Daniel Walters
Mr. Coy Allen Westbrook
